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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-303 MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   SESAR PRADO, and                                    DATE: October 8, 2015
     RAMON PRADO,                                        TIME: 9:00 a.m.
15                                                       COURT: Hon. Morrison C. England, Jr.
                                  Defendants.
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17
                                                 STIPULATION
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            1.      By previous order, this matter was set for status on October 8, 2015.
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            2.      By this stipulation, defendants now move to continue the status conference until
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     December 17, 2015, and to exclude time between October 8, 2015, and December 17, 2015, under Local
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     Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes approximately 100 pages of reports and 8 audio/video discs. All of this discovery has
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            been either produced directly to counsel and/or made available for inspection and copying. All of
26
            this discovery has been either produced directly to counsel and/or made available for inspection
27
            and copying.
28
                    b)     Counsel for defendants desire additional time to consult with their clients, to
      STIPULATION RE: SPEEDY TRIAL ACT; ORDER            1
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 1        review the current charges, to conduct investigation and research related to the charges and the

 2        provided discovery, and to discuss potential resolution with their clients in light of the discovery

 3        provided to date.

 4                c)      Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7                d)      The government does not object to the continuance.

 8                e)      Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., within which trial must commence, the time period of October 8, 2015 to December 17,

13        2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

14        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

15        of the Court’s finding that the ends of justice served by taking such action outweigh the best

16        interest of the public and the defendant in a speedy trial.

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18                                       [Remainder of page intentionally left blank.]

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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
                 Case 2:14-cr-00303-DC Document 33 Filed 10/09/15 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: October 6, 2015                                   BENJAMIN B. WAGNER
 6                                                            United States Attorney
 7
                                                              /s/ CHRISTIAAN H.
 8                                                            HIGHSMITH
                                                              CHRISTIAAN H. HIGHSMITH
 9                                                            Assistant United States Attorney
10
     Dated: October 6, 2015                                   /s/ DINA SANTOS
11                                                            DINA SANTOS
12                                                            Counsel for Defendant
                                                              SESAR PRADO
13
14 Dated: October 6, 2015                                     /s/ KELLY BABINEAU
                                                              KELLY BABINEAU
15                                                            Counsel for Defendant
                                                              RAMON PRADO
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                                                      ORDER
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            IT IS SO ORDERED.
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     Dated: October 9, 2015
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             3
